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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.     CV 99-8333-DMG (SKx)                                       Date    November 6, 2018

 Title United States of America v. Kimberly A. Aiken                                     Page     1 of 1

 Present: The Honorable       DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

               KANE TIEN                                                 NOT REPORTED
               Deputy Clerk                                               Court Reporter

     Attorneys Present for Plaintiff(s)                         Attorneys Present for Defendant(s)
              None Present                                                None Present


Proceedings: IN CHAMBERS - ORDER REQUIRING FURTHER FILING IN SUPPORT
             OF PLAINTIFF’S SECOND APPLICATION FOR WRIT OF
             CONTINUING GARNISHMENT

        On October 31, 2018, Plaintiff United States of America filed a second application for a
writ of continuing garnishment pursuant to 28 U.S.C. § 3205(b). [Doc. # 14.] The application is
required to include the “judgment debtor’s name, social security number (if known), and last
known address.” 28 U.S.C. § 3205(b)(1). Plaintiff complies with the redaction requirements of
Fed. R. Civ. P. 5.2 and Local Rule 5.2-1, by listing only the last four digits of the judgment debtor’s
Social Security Number and only the city and state of the judgment debtor’s home address in its
unsealed application. To comply with Section 3205(b)(1), however, Plaintiff shall file counsel’s
declaration under seal providing the judgment debtor’s name, Social Security Number, and last
known address.

        Plaintiff’s proposed writ of garnishment instructs the garnishee to release the subject
properties directly to Plaintiff if no objection to Garnishee’s answer or request for hearing is
received by the Court within 20 days. Counsel is advised that the garnishee should not be so
instructed. Instead, after the garnishee files an answer, if no objection or request for hearing is
filed, Plaintiff shall apply to the Court for an order directing the garnishee as to the disposition of
the judgment debtor’s nonexempt interest in the property in question. 28 U.S.C. § 3205(c)(7).
Plaintiff shall provide the Court with an amended proposed writ of garnishment.

       Accordingly, IT IS ORDERED that Plaintiff shall, forthwith, (1) file counsel’s declaration
under seal providing the above-mentioned information and (2) provide the Court with an amended
proposed writ of garnishment.




 CV-90                              CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk KT
